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Exhibit T
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Tuesday, May 24, 2016 at 2:02:18 PM Eastern Daylight Time

Subject: Call
Date: Wednesday, May 28, 2014 at 5:10:50 PM Eastern Daylight Time

From: Adam Ford
To: Gurbir S. Grewal

Hey Gurbir,

Do you have time for a quick call regarding Mr. Gentile. He has been appointed a directorship and wanted to run
some things by you.

--Adam

111 Broadway, Suite 1502
New York, NY 10006
direct: (917) 512-6937

aford@harrisobrien.com

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